  AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                              for the
                                                                                                                  7 PI- 2:17




                             Plaintiffs)
                                 V.                                     Civil Action No.
                                                                                           o    3—    ,zo      -A t% ,6




     -   0J         otqiq~ (~~ iAf~'O~L
                           Defendant s)


                                                   SUMMONS IN A CIVIL. ACTION

 To: (Defendant's name and address)


                                            c
                               22D                Og4fe
                                                              711 ~3
          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)     or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)   you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:
                                           2, 20L 1~)l`lvpw o /-kilfi
                                                                        J 3Iz//

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                          CLERK OF COURT


Date:     0`61 OS12I
                                                                                    Sia    Lure of Clerk or Deputy Clerk




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AO 440 (Rev. 06/12) Summons in a Civil Action (Yaje 2)

 Civil Action No.

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Feet: R. Cin P. 4 (1))

           This summons for (name ofindividual and title, ifarn)                                                  Q j2
was received by me on (date)

          C3 I personally served the summons on the individual at (place)
                                                                                on (date)                                  ; or

          S,I left the summons at the individual's residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
          on (date)                               , and mailed a copy to the individual's last known address; or

          °7q served the summons on (name of individual)     j Q ,~F,H Ld ®                             (~                          , who is
           designated by law to accept service of process on beh of (name of organization)                          /
                                                                                on (date)       '               ZOY       ;O

          0 I returned the summons unexecuted because                                                                                    ; or

        A Other (speeifj):,7 s ow *-c Su lfW M-) Q 0 s                                if     w J 'Lf        /-5 y       CeT >` - &d o A-/"/ ,




          My fees are $                           for travel and $                    for services, for a total of $              0.00


          I declare under penalty of perjury that this information is true.


Date:       ©     /d eoz/                                                             _
                                                                                             Sen~er's signature
                                                                                  /
                                                                           /Ir/leW AW A-   Printed name and title




                                                                                             Server's address

Additional information regarding attempted service, etc:




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s Complete items 1, 2, and 3.                                          A. Si n Lure

■ Print your name and address on the reverse                           X                                                  13 Agent
  so that we can return the card to you.                                                                                  ❑ Addressee
                                                                       B./R_ecleived by (Printed /Jame)               C. Date of Delivery
■ Attach this card to the back of the mailpiece,                                                                 /
  or on the front if space permits.                                    /        4;tf4 - 0 -Av                          c-' t 0' 2-0 L1
1. Article Addressed to:                                               D. Is delivery address different from item 1? ❑ Yes
                                       /                                  If YES, enter delivery address below:      ❑ No




                                                                    3. Service Type                              ❑ Priority Mail Express@
     III III ICI 011II II III I I i I II ~ III III III             ❑
                                                                   ❑
                                                                       Adult Signature
                                                                       Adult Signature Restricted Delivery
                                                                                                                 ❑ Registered Ma!ITM
                                                                                                                 ❑ Registered Mall Restrictet
        9590 9402 6620 1028 0281 97                                ❑   Certified Mail®                             Delivery
                                                                   ❑   Certified Mail Restricted Delivery        ❑ Signature ConfirmatlonT
                                                                   ❑   Collect on Delivery                       ❑ Signature Confirmation
2. Article Number (Transfer from service label)                    ❑   Collect on Delivery Restricted Delivery     Restricted Delivery
                                                                       Insured Mai(
                                                                       Insured Mall Restricted Delivery

PS Form 3811, July 2020 PSN 7530-02-000-9053                                                                 Domestic Return Receipt




                     r~J ..
                     17~-
                                      .1.111.Fill.WIT111-11
                          0:117MITITTIM


                     1-3Certified Mail Fee         1j !                                         17
                                                                                                 19


                     rU Extra Services & Fees (checkbcx, addfeeasq4prg7jrate)
                         ❑ Return Receipt (hardcopy)         : .$           -
                         []Return Receipt (electronic)          $  ;10 . t !0              Postmark
                     U   ❑ Certified Mail Restricted Delivery $          '1'l                Here
                     E3 ❑ Adult Signature Required -            $-                                                                              M
                     ❑
                         ❑ Adult Signature Restricted Delivery $
                     ❑ Postage                $ ,Il41
                     Ln $
                                                                         _
                                                                                     Ci   lil.,%21121
                     Q' Total Postage and F


                           ~Serrt TO

                     C3    , treet and Apt.No., or POEox No
                     fti




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              UNITED ST ES
              POSTAL SERVICE.
                   WOODBINE
             4112 NOLENSVILLE PIKE
           NASHVILLE, IN 37211-9998
                 (800)275-8777
 08/06/2021                           11:33 AM
   -. .-------------
                       ----------------------
 Product                Oty    Unit      Price
                              Price
 ..- ------------- ---------------------.
 i'lcst-Class Mail®     1                $1.DO
 Large Uwelope
     Nashville. IN 37243
     Weight 0 lb 0.90 cz
     Estimat-,! Delivery Date
          Ma, 08/09/2021
     ~ertift~d Mail@                     $3 0
     1    1ra,:king N:
              70210950000127046095
     Return Receipt                      $2.85
          Tracking N:
              9590 9402 6620 1028 0281 73
 Total                                  $7.45
Fiis:-Class Mail@     1                  $1.00
Large Envelope
     Nashville, IN 37243
     Weight: 0 lb 0.90 oz
    Estimated Delivery Date
         Mon 08/09/2021
    Certified Mail@                      $3.60
         Tracking N:
             70210950000127046088
    Return Receipt                       $2.85
         Tracking N:
             9590 9402 6620 1028 0281   80
Total                                    $7.45
First-Class Mall@    1                   $1.00
Large Envelope
    Nashville, IN 37243
    Weight: 0 lb 0.90 oz
    Estimated Delivery Date
        Mon 08/09/2021
    Certified Mail@                      $3.60
        Tracking N:
            70210950000127046071
    Return Receipt                       $2.85
        Tracking N:
            9590 9402 6620 1028 0281    97
Total                                    $7.45
First-Class Mail@    1                  $1.00
Large Envelope
    Nashville, IN 37243
    Weight: 0 lb 0.90 oz
    Estimated Delivery Date
        Hun 08/09/2021
    Certified Mail@                     $3.60
        Tracking N:,
            70210950000127046101
    Return Receipt                      $2.85
        Tracking N:
            9590 9402 6620 1028 0281    35
Total                                    $7.45

First-Class Mail@     1                 $1.00
Large Envelope
    Nashville, IN 37243
    Weight: 0 lb 0.90 oz
    Estimated Delivery Date
        Mon 08/09.2021
    Certified Mail@                     $3.60
        Tracking N:
            702109500001270461764
    Return Receipt                      $2.85
        Tracking N:
            9590 9402 6620 1028 0281    42
Total                                    $7.45

------------------ --------- ------------
Grand Total:                        $37.25
Credit Card Remitted                 $37.25
    Card Name: MasterCard
    Account N: XXXXXXXXXXXX1514
    Approval N: 62368Z
    Transaction N: 005
    AID: AOOO0000041010          Chip
    AL: Mastercard
    PIN: Not Required      Mastercard


 USPS is experiencing unprecedented volume
       increases and limited employee
     availability due to the Impacts of
   COVID-19. We appreciate your patience.
::rRaaxaaxxrxx.•.,.....ax:.x..:..:xxxaa.zxx




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